AO 466A (Rev. 12/17) Waiver of Rule 5 & 5.1 Hearings (Complaint or Indictment)


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                          District District
                                                      __________   of Massachusetts
                                                                            of __________

                 United States of America                                   )
                            v.                                              )    Case No.
                                                                            )
                       Brian McCreary                                       )
                                                                            )    Charging District’s Case No.           21-MJ00199
                            Defendant                                       )

                                                 WAIVER OF RULE 5 & 5.1 HEARINGS
                                                      (Complaint or Indictment)

          I understand that I have been charged in another district, the (name of other court)            District of District of Columbia
                                                                                                                                             .

          I have been informed of the charges and of my rights to:

          (1)       retain counsel or request the assignment of counsel if I am unable to retain counsel;

          (2)       an identity hearing to determine whether I am the person named in the charges;

          (3)       production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;

          (4)       a preliminary hearing to determine whether there is probable cause to believe that an offense has been
                    committed, to be held within 14 days of my first appearance if I am in custody and 21 days otherwise,
                    unless I have been indicted beforehand.

          (5)       a hearing on any motion by the government for detention;

          (6)       request a transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

          I agree to waive my right(s) to:
          ✔
          u         an identity hearing and production of the warrant.
          u         a preliminary hearing.
          u         a detention hearing.
          u         an identity hearing, production of the judgment, warrant, and warrant application, and any preliminary
                    or detention hearing to which I may be entitled in this district. I request that my
                    ✔
                    u preliminary hearing and/or u detention hearing be held in the prosecuting district, at a time set by
                    that court.

       I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.


Date:           02/04/2021                                                              o/b/o Brian McCreary
                                                                                          Defendant’s signature



                                                                                    Signature of defendant’s attorney



                                                                                   Printed name of defendant’s attorney
